                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

                                                     )
 In re:                                              )   Case No. 24-43778-mlo
                                                     )
 INTERACTIVE HEALTH BENEFITS LLC,                    )   Judge Maria L. Oxholm
 d/b/a ACA Track, LLC,                               )
                                                     )   Chapter 11
                       Debtor.                       )   Subchapter V
                                                     )

                      DEBTOR’S PLAN PROGRESS REPORT

          The above-captioned debtor and debtor in possession (the “Debtor”) hereby

submits this plan progress report (this “Report”), pursuant to section 1188(c) of title

11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), and

the Order Establishing Guidelines and Procedures for Small Business Debtor under

Subchapter V of Chapter 11 [Docket No. 52] (the “Scheduling Order”), and

respectfully states as follows:

          1.    On April 16, 2024 (the “Petition Date”), the Debtor filed a voluntary

petition for relief under subchapter V of chapter 11 of the Bankruptcy Code

(this “Case”).

          2.    The Debtor is continuing in possession of its property and is continuing

to operate and maintain its businesses as debtor in possession pursuant to section

1184 of the Bankruptcy Code.

          3.    Todd Covert, in his capacity as Chief Executive Officer and sole

33583385.5
   24-43778-mlo     Doc 68    Filed 05/16/24   Entered 05/16/24 15:13:41   Page 1 of 8
member of the Debtor, is the responsible person for the Debtor.

         4.   Kimberly Clayson has been appointed Subchapter V Trustee in this

Case.

  I.     Overview of the Debtor’s Business

         5.   The Debtor is an industry leader in providing Internal Revenue Service

and State Individual Health Mandate reporting services to large employers in

accordance with the requirements of the Affordable Care Act.                 The Debtor

implements its proprietary software to assist its customers in meeting their federal

and state reporting obligations on a yearly basis and collects data over the course of

the year to conduct necessary audits.

         6.   The Debtor enters into agreements with employers to provide this

service on an annual basis, and it bills customers for these services quarterly. The

Debtor generates revenue through quarterly invoices, which are paid in advance for

services performed at year-end. The revenue received throughout the year is used

to pay the Debtor’s ongoing business expenses.

         7.   The Debtor was organized in Michigan on December 3, 2013. The

business has been operating since 2014. The Debtor’s business is run remotely. It

has no physical office space.




                                             2
33583385.5
   24-43778-mlo    Doc 68   Filed 05/16/24       Entered 05/16/24 15:13:41   Page 2 of 8
         8.    The Debtor is managed by Todd Covert and Christine Covert, Chief

Financial Officer. The Debtor employs twenty employees and three independent

contractors, all of whom work remotely.

II.      Events Leading to Bankruptcy

         9.    The Debtor has historically been profitable. The debtor had total

revenue of more than $5,000,000.00 in 2022 and 2023. Based on past performance,

the Debtor is expected to generate approximately $1,200,000.00 annually in excess

cash flow, prior to paying compensation in the technical form of LLC distributions

to its sole member.

         10.   As of the Petition Date, the Debtor has no secured debt and minimal

undisputed, unsecured debt. The Debtor has historically been able to pay its debts

as they come due.

         11.   The Debtor has been involved in litigation since 2022 with a former

employee, Jerry Dagenais, relating to claims with respect to a breach of an

employment contract.1 On January 17, 2024, after a jury trial, a judgment (the

“Judgment”) was entered in favor of Mr. Dagenais and against the Debtor in the

amount of $2,481,882.53 (the “Judgment Amount”).

         12.   On March 25, 2024, after various post-trial motions, the Debtor filed a



1    Jerry Dagenais v. ACA Track, LLC, et al., Case No. 2022-193587-CB, Oakland County
     Circuit Court, State of Michigan (J. Warren).

                                               3
33583385.5
    24-43778-mlo    Doc 68    Filed 05/16/24       Entered 05/16/24 15:13:41   Page 3 of 8
claim of appeal (the “Appeal”).2 On April 4, 2024, Mr. Dagenais filed a Claim for

Cross-Appeal. The Debtor has been advised that it has a strong basis for success on

appeal.

         13.   The Debtor did not have a business liability insurance policy that covers

the Judgment. The Debtor did not have sufficient cash available to fund the full

bond amount to obtain a stay pending appeal. Mr. Dagenais, through counsel,

indicated that he would begin collection efforts while the appeal is pending.

         14.   Given the nature of the Debtor’s business, if Mr. Dagenais had taken

action to garnish the Debtor’s bank accounts and/or its accounts receivable or

otherwise enforce the judgement, the Debtor would not have had any cash available

to fund operations and would have been forced to immediately cease doing business.

         15.   The Debtor, through counsel, engaged in discussions with Mr.

Dagenais’s counsel regarding potential options for a consensual resolution to settle

Mr. Dagenais’ claims, and when this was unsuccessful, negotiations regarding a

reduced bond amount and a stay on collections pending appeal. Despite these

efforts, the Debtor and Mr. Dagenais were unable to come to agreeable terms




2    ACA Track, LLC v. Jerry Dagenais, COA Docket No. 370205, Court of Appeals for the State
     of Michigan.

                                               4
33583385.5
    24-43778-mlo    Doc 68    Filed 05/16/24       Entered 05/16/24 15:13:41   Page 4 of 8
resulting in Mr. Dagenais commencing efforts to collect on the judgment.

According, the Debtor’s last resort was to file this Case.

III.     Efforts Since the Petition Date and Plan for the Case

         16.   Since the Petition Date, the Debtor has worked to address the concerns

of various constituents, including the Office of the United States Trustee, the

Subchapter V Trustee, various creditors, and the Debtor’s customers.

         17.   The Debtor is in the process of formulating a plan (the “Plan”) which

is expected to be filed on or before July 15, 2024 deadline, in compliance with

section 1189 of the Bankruptcy Code and the Scheduling Order.

         18.   The Debtor intends to file a plan of reorganization, pursuant to which

it intends pay the allowed amounts of all of its creditors’ claims (including any

allowed claim of Mr. Dagenais, in the event that the Appeal is unsuccessful) the total

amount of its disposable income, after payment of taxes owed by its sole member

and reasonable market value compensation to Mr. Covert (for his role as Chief

Executive Officer) and Mrs. Covert (for her role as Chief Financial Officer), during

the pendency of the plan. The Debtor expects the Plan to include four types of

creditors and one class of equity security holders. The Debtor expects the four types

of creditors to be (i) administrative, (ii) secured,3 (iii) priority, and (iv) unsecured.



3    The Debtor does not believe there are creditors with secured claims that may be asserted in
     this Case. For the avoidance of doubt, the Debtor intends to include a class for secured

                                                5
33583385.5
    24-43778-mlo     Doc 68    Filed 05/16/24       Entered 05/16/24 15:13:41    Page 5 of 8
         19.   With respect to the claim of Mr. Dagenais based on the Judgment, the

Debtor will propose that the portion of the plan payments to be paid on any allowed

claim would be deposited into an escrow account pending the outcome of the appeal.

The Debtor intends to object to any claim filed by Mr. Dagenais based on the

Judgment and seek to cap the amount of such claim under section 502(b)(7) of the

Bankruptcy Code.

         20.   On May 16, 2024, the Court entered the stipulated Order Modifying the

Automatic Stay for Limited Purpose of Continuing Pending Appeal [Docket No. 67].

         21.   After resolution of the Appeal, if the Debtor is unsuccessful, the

escrowed funds would be disbursed to Mr. Dagenais on any allowed claim, and the

Debtor would pay all additional plan payments directly to Mr. Dagenais thereafter.

         22.   Debtor’s counsel has been in regular communications counsel for Mr.

Dagenais, both prior to and following the Petition Date to discuss options for a

consensual path forward. The Debtor and Mr. Dagenais have agreed to participate

in mediation and are working to arrange an agreeable date with Judge Phillip J.

Shefferly (retired) at JAMS.

         23.   The Debtor does not have any unexpired leases of real property. Unless

rejected under the Plan or subject to a separate motion to assume or reject filed prior




    creditors in the Plan to address such claims in the event a creditor files a proof of claim
    asserting a secured claim.

                                               6
33583385.5
   24-43778-mlo     Doc 68    Filed 05/16/24       Entered 05/16/24 15:13:41    Page 6 of 8
to the Plan confirmation hearing, the Debtor anticipates that it will assume all of its

executory contracts as of the date of entry of an order confirming the Plan.

         24.   The Debtor will continue to work with the Subchapter V Trustee, its

creditors, and all parties in interest to propose a consensual Plan.



  Dated:        May 16, 2024                 Respectfully submitted,

                                               /s/ Ashley J. Jericho
                                             MCDONALD HOPKINS PLC
                                             Stephen M. Gross (P35410)
                                             Ashley J. Jericho (P72430)
                                             39533 Woodward Avenue, Suite 318
                                             Bloomfield Hills, Michigan 48304
                                             Telephone: (248) 646-5070
                                             Facsimile: (248) 646-5075
                                             Email: sgross@mcdonaldhopkins.com
                                                    ajericho@mcdonaldhopkins.com

                                             Counsel to the Debtor and Debtor in
                                             Possession


                                               /s/ Todd Covert
                                             Interactive Health Benefits, LLC
                                             By: Todd Covert
                                             Its: CEO and Sole Member




                                             7
33583385.5
   24-43778-mlo    Doc 68   Filed 05/16/24       Entered 05/16/24 15:13:41   Page 7 of 8
                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

                                                         )
 In re:                                                  )   Case No. 24-43778-mlo
                                                         )
 INTERACTIVE HEALTH BENEFITS LLC,                        )   Judge Maria L. Oxholm
 d/b/a ACA Track, LLC,                                   )
                                                         )   Chapter 11
                      Debtor.                            )   Subchapter V
                                                         )

                            CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on May 16, 2024, the foregoing

Debtor’s Plan Progress Report was filed electronically. Notice of this filings will be

sent to all parties requesting service via the Court’s Electronic Case Filing System.

Parties may access these filings through the Court.


Dated:         May 16, 2024                      Respectfully submitted,

                                                 /s/ Ashley J. Jericho
                                                 MCDONALD HOPKINS PLC
                                                 Stephen M. Gross (P35410)
                                                 Ashley J. Jericho (P72430)
                                                 39533 Woodward Avenue, Suite 318
                                                 Bloomfield Hills, Michigan 48304
                                                 Telephone: (248) 646-5070
                                                 Facsimile: (248) 646-5075
                                                 Email: sgross@mcdonaldhopkins.com
                                                      ajericho@mcdonaldhopkins.com

                                                 Counsel to the Debtor and Debtor in
                                                 Possession


33583385.5
   24-43778-mlo    Doc 68     Filed 05/16/24   Entered 05/16/24 15:13:41   Page 8 of 8
